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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          Case No. 20-23287-CIV-GAYLES/OTAZO-REYES

  LUIS MANUEL RODRIGUEZ, et al.,

          Plaintiffs,

  v.

  IMPERIAL BRANDS PLC, et al.,

        Defendants.
  ______________________________________/

                                                 ORDER

          THIS CAUSE came before the Court on April 21, 2023, for a Telephonic Status

  Conference (“Status Conference”) on the Court’s Order on Report and Recommendation [D.E.

  307].   In accordance with the parties’ input and agreement at the Status Conference, it is

  ORDERED AND ADJUDGED as follows:

          1.      By Friday, May 19, 2023, Defendants Imperial Brands PLC (“Imperial”), WPP

  PLC (“WPP”), Young & Rubicam LLC (“Y&R”), and BCW LLC (“BCW”) (WPP, Y&R, and

  BCW, together, “WPP Defendants”) (Imperial and WPP Defendants, together, “Defendants”)

  SHALL SUBMIT post-remand briefs in accordance with the following requirements:

                  •     Defendants shall submit a joint brief and the WPP Defendants and Imperial

                        shall submit individual briefs, as discussed at the Status Conference, with

                        respect to the issues to be addressed on remand by the undersigned pursuant to

                        the Court’s Order on Report and Recommendation [D.E. 307].

                  •     Defendants’ joint brief shall not exceed fifteen (15) pages; and Imperial’s and

                        WPP Defendants’ individual briefs shall not exceed ten (10) pages each.
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          2.      By Friday, June 16, 2023, Plaintiffs Luis Manuel Rodriguez, Maria Teresa

  Rodriguez, Alfredo Ramon Forns, Ramon Alberto Rodriguez, Raul Lorenzo Rodriguez, Christina

  Conroy, and Francisco Ramon Rodriguez (“Plaintiffs”) SHALL RESPOND to Defendants’ joint

  brief and Imperial’s and WPP Defendants’ individual briefs. Plaintiffs’ response to Defendants’

  joint brief shall not exceed fifteen (15) pages; and Plaintiffs’ responses to Imperial’s and WPP

  Defendants’ individual briefs shall not exceed ten (10) pages each.

          3.      By Friday, June 30, 2023, Defendants SHALL REPLY to Plaintiffs’ responses,

  limited in length to fifteen (15) pages. Defendants may apportion this page limit among them as

  they see fit.

          4.      A hearing on the parties’ post-remand briefing is hereby set for Tuesday, July 25,

  2023, at 10:30 A.M. The hearing will be conducted by Zoom video conference. Conference

  instructions will be provided to counsel via e-mail. The Court has set aside the entire business day

  with appropriate breaks for this matter.

          DONE AND ORDERED in Chambers at Miami, Florida, this 21st day of April, 2023.


                                                ___________________________________
                                                ALICIA M. OTAZO-REYES
                                                UNITED STATES MAGISTRATE JUDGE


  cc:     United States District Judge Darrin P. Gayles
          Counsel of Record




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